    B2100A (Form 2100A) (12/15)


                              United States Bankruptcy Court
                                                                                   Arizona
                              _______________ District Of _______________
           BERTIE SUSAN BRODSKY aka BERTI S.
          BRODSKY                                                                4:16-bk-00885-BMW
    In re ______________________________,                            Case No. ________________



                      TRANSFER OF CLAIM OTHER THAN FOR SECURITY
    A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
    Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
    transfer, other than for security, of the claim referenced in this evidence and notice.

    Wilmington Savings Fund Society, FSB, d/b/a                                  Nationstar Mortgage LLC
    Christiana Trust, not individually but as trustee
    for Pretium Mortgage Acquisition Trust
    ______________________________________                                      ____________________________________
               Name of Transferee                                                           Name of Transferor

    Name and Address where notices to transferee                                 Court Claim # (if known):     11-1
    should be sent:                                                              Amount of Claim:      $197,195.39
     Selene Finance                                                              Date Claim Filed:      05/04/2016
     9990 Richmond Ave, Suite 400 South
     Houston, TX 77042
           877-735-3637
    Phone: ______________________________                                               877-343-5602
                                                                                Phone: __________________________
    Last Four Digits of Acct #: ______________
                                ******4579                                      Last Four Digits of Acct. #: __________
                                                                                                             6082

    Name and Address where transferee payments
    should be sent (if different from above):
     Selene Finance
     9990 Richmond Ave, Suite 400 South
     Houston, TX 77042
            877-735-3637
    Phone: _______________________________
    Last Four Digits of Acct #: _______________
                                ******4579



    I declare under penalty of perjury that the information provided in this notice is true and correct to the
    best of my knowledge and belief.

    By:__________________________________                                              12/11/2017
                                                                                 Date:____________________________
           Transferee/Transferee’s Agent


    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




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    1   ALDRIDGE PITE, LLP
        4375 Jutland Drive, Suite 200
    2   P.O. Box 17933
        San Diego, CA 92177-0933
    3   Telephone: (858) 750-7600
        Facsimile: (619) 590-1385
    4

    5   Attorneys for
        Wilmington Savings Fund Society, FSB, d/b/a
    6   Christiana Trust, not individually but as trustee for
        Pretium Mortgage Acquisition Trust
    7

    8

    9                              UNITED STATES BANKRUPTCY COURT
   10                                 FOR THE DISTRICT OF ARIZONA
   11    In re                                             Case No. 4:16-bk-00885-BMW
   12    BERTIE SUSAN BRODSKY,                             Chapter 13
   13                                                      PROOF OF SERVICE
                         Debtor.
   14

   15            I, Agustina Sandoval, declare that:
   16            I am employed in the County of San Diego, State of California. My business address is
   17 4375 Jutland Drive, Suite 200; P.O. Box 17933, San Diego, CA 92177-0933. I am over the age

   18 of eighteen years and not a party to this case.

   19            On December 11, 2017, I served the Notice of Transfer of Claim by electronic means
   20 through the court’s CM/ECF system or by placing true and correct copies thereof enclosed in a

   21 sealed envelope with postage thereon fully prepaid in the United States Mail at San Diego,

   22 California, addressed as follows:

   23                                      BERTIE SUSAN BRODSKY
                                             6172 E. 20TH STREET
   24                                         TUCSON, AZ 85711
   25
                                                  (Via U.S. Mail)
   26

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                                                       -1-                  CASE NO. 4:16-bk-00885-BMW
                                                PROOF OF SERVICE

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                                        SCOTT D. GIBSON
    1                          LAW OFFICE OF SCOTT D. GIBSON, PLLC
                                      1632 N. Country Club Rd.
    2                                    Tucson, AZ 85716
                                          ecf@sdglaw.net
    3

    4                                            (Via Email)
    5                                        Dianne C. Kerns
                                     7320 N. La Cholla #154 PMB 413
    6                                    Tucson, AZ 85741-2305
                                          mail@dcktrustee.com
    7
                                                 (Via Email)
    8
                                             U.S. Trustee
    9                                  Office of the U.S. Trustee
                                        230 North First Avenue
   10                                          Suite 204
                                          Phoenix, AZ 85003
   11                             USTPRegion14.PX.ECF@USDOJ.GOV
   12                                            (Via Email)
   13

   14        I declare under penalty of perjury that the foregoing is true and correct.

   15 Dated: December 11, 2017                             /s/ Agustina Sandoval
                                                           AGUSTINA SANDOVAL
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